                                                              Ex. 4-Contempt hearing & prep.
 DATE                                                 NARRATIVE                                                   TIME-   HOURS    RATE          VALUE
                                                                                                                 KEEPER
3/27/2023   4 emails with D. Berkley re P&G's request to ignore court order to obtain digital forensics expert    BCN      0.5    $ 380.00   $    190.00

3/27/2023   Email to client re: P&G’s “expert” report, likely problems from the Court’s perspective, and          BCN      0.6    $ 380.00   $    228.00
            recent testimony of Plaintiff Michael Clark
3/28/2023   Continue reviewing one page metadata report created by opposing counsel in preparation for            KAH      0.6    $ 275.00   $    165.00
            attending case management conference and regarding specific deficiencies in report in
            preparation for notifying Court.
3/28/2023   Email to IT team requesting it advise of all inadequacies in meta-data report produced by P&G         BCN      0.3    $ 380.00   $    114.00
            Construction
3/28/2023   Appearance at hearing with Judge York re: P&G Construction’s failure to comply with Court             BCN      0.3    $ 380.00   $    114.00
            order
3/28/2023   Draft lengthy email to client regarding update of case management conference hearing,                 KAH      0.9    $ 275.00   $    247.50
            including Court's Order re contempt hearing in-person requiring all parties to be present,
            deficiencies in one page report produced by opposing counsel regarding digital data associated
            with assignment of claim agreement and needed witnesses
3/29/2023   Review of candidates for presenting expert testimony at upcoming contempt hearing due to              BCN      0.4    $ 380.00   $    152.00
            P&G's failure to obtain same
3/30/2023   Telephone conference with Page One to assess company’s capabilities and abilities to serve            BCN      0.5    $ 380.00   $    190.00
            client as expert witness at upcoming sanctions hearing on April 10
3/30/2023   2 emails with chambers and opposing counsel re: live testimony presentation at sanctions              BCN      0.3    $ 380.00   $    114.00
            hearing and the Court’s expectations that client pay for expert witness to be present for live
            testimony
3/30/2023   Begin drafting outline of proof to be presented to court re: sanctions against P&G and relief to      BCN      1.2    $ 380.00   $    456.00
            be sought
4/3/2023    Telephone conference with T. Struttmann, computer forensics expert, re: potential appearance          BCN      0.6    $ 380.00   $    228.00
            at hearing on motion for sanctions
4/3/2023    Review of T. Struttman credentials and cases in which he has previously testified                     BCN      0.4    $ 380.00   $    152.00
4/3/2023    Email with T. Struttmann re: potential appearance in action and designation of exhibits               BCN      0.3    $ 380.00   $    114.00
4/3/2023    Email to client re: conversation with Cyber Agents and request for approval to hire                   BCN      0.4    $ 380.00   $    152.00
4/4/2023    2 emails with client re retention of Cyber Agents as expert in matter                                 BCN      0.1    $ 380.00   $     38.00
4/5/2023    Email to expert, T. Struttman, re: Ohio Security’s agreement to utilize him as expert witness in      BCN      0.2    $ 380.00   $     76.00
            this matter
4/5/2023    Drafting of outline for direct questions for expert T. Struttman at sanctions hearing on April 10     BCN      0.9    $ 380.00   $    342.00

4/6/2023    Telephone conference with T. Struttman in preparation for Motion for Sanctions Hearing                BCN      1.2    $ 380.00   $    456.00

4/7/2023    Drafting of outline of oral argument re: sanctions against Plaintiff Mike Clark                       BCN      0.8    $ 380.00   $    304.00
4/7/2023    Drafting of outline of oral argument re: sanctions against P&G Construction Consultants, LLC          BCN      0.6    $ 380.00   $    228.00

4/7/2023    Drafting of list of cross-examination questions related to ownership of P&G, service of process,      BCN      1.2    $ 380.00   $    456.00
            awareness of Court order, and for William Griffin re upcoming hearing
                                                                                                                                     Exhibit 4
                                                               Ex. 4-Contempt hearing & prep.
 DATE                                                  NARRATIVE                                                  TIME-   HOURS    RATE          VALUE
                                                                                                                 KEEPER
4/7/2023    Review of 10 documents produced by P&G Construction Consultants, LLC to determine full                BCN      0.8    $ 380.00   $    304.00
            extent of scope of failure to produce
4/7/2023    Telephone conference with Trent Struttman re: preparation for hearing                                 BCN      0.2    $ 380.00   $     76.00
4/7/2023    Email to Magistrate Judge York re: client’s decision to have T. Struttman, expert, appear as a        BCN      0.2    $ 380.00   $     76.00
            witness
4/7/2023    Review computer search report produced by opposing counsel re specific deficiencies in                KAH      0.5    $ 275.00   $    137.50
            plaintiff's failure to comply with court order re digital forensics search and re relief sought at
            upcoming contempt hearing, including sanctions, attorneys' fees, dismissal of P&G, and
            permission to conduct additional forensics investigation of digital devices in possession of P&G
            and William Griffin.
4/10/2023   Travel to Jackson, TN for Sanctions Hearing Against P&G Construction Consultants, LLC                 BCN      2.5    $ 190.00   $    475.00
            (billed at half-rate)
4/10/2023   Return travel from Jackson, TN for Sanctions Hearing against P&G Construction Consultants,            BCN      2.5    $ 190.00   $    475.00
            LLC (billed at half-rate)
4/10/2023   Attendance at Sanctions Hearing Against P&G Construction Consultants, LLC before                      BCN      5.4    $ 380.00   $ 2,052.00
            Magistrate Judge York
4/10/2023   Preparation for cross-examination of Billie Griffin based upon late-produced affidavits from          BCN      1.1    $ 380.00   $    418.00
            opposing counsel and designation of all exhibits re: same
4/10/2023   Preparation for cross-examination of Russell Perkins based upon late-produced affidavits from         BCN      1.2    $ 380.00   $    456.00
            opposing counsel and designation of all exhibits re: same
4/10/2023   Telephone conference with T. Struttman, computer forensics expert, re direct examination              BCN      0.4    $ 380.00   $    152.00
            testimony and questions re meta-data discovered in the Assignment of Claim

4/10/2023   Prepare for second continued contempt hearing, including identifying specific sanctions               KAH      1.6    $ 275.00   $    440.00
            requested against third party P&G Construction Consultants, reviewing P&G's motion to
            exclude expert testimony, and response to P&G's motion to exclude expert testimony.

4/11/2023   Email to client and A. Clark re: results of contempt hearing, testimony of all three witnesses,       BCN      1.5    $ 380.00   $    570.00
            continuation of matter, sharing of exhibit list, and upcoming next steps
4/11/2023   Draft outline of potential relief to be requested from Judge York at 2nd contempt hearing             BCN      0.4    $ 380.00   $    152.00

4/11/2023   Email to Court reporter re: need for transcript from 1st day of contempt hearing and costs of         BCN      0.1    $ 380.00   $     38.00
            same
4/11/2023   3 emails with T. Struttman re: results of initial hearing and options to address questions re:        BCN      0.5    $ 380.00   $    190.00
            digital signature on Assignment of Claim
4/11/2023   Review of exhibits proffered so far in contempt hearing and evaluation of additional proof            BCN      0.3    $ 380.00   $    114.00
            needed at future contempt hearing
4/11/2023   Conduct legal research re sanctions imposed where party forged document presented to Court,           KAH      1.2    $ 275.00   $    330.00
            in preparation for attending second contempt hearing against Plaintiff and P&G Construction
            Consultants.
4/14/2023   Omnibus email to client re: missing electronic discovery from P&G, need for assistance and            BCN      1.5    $ 380.00   $    570.00
            Plaintiff's standing
                                                               Ex. 4-Contempt hearing & prep.
 DATE                                                  NARRATIVE                                                     TIME-   HOURS    RATE          VALUE
                                                                                                                    KEEPER
4/14/2023   Review statement made by R. Mehidian and options to address same in cross-examination                    BCN      0.7    $ 380.00   $    266.00

4/14/2023   Draft outline of cross-examination of Plaintiff re: affidavit and comparison with prior deposition       BCN      0.5    $ 380.00   $    190.00
            testimony
4/14/2023   Drafting of “standing” argument against Plaintiff due to Magistrate Judge York’s request for             BCN      0.5    $ 380.00   $    190.00
            same in recent order
4/17/2023   Review first 85 pages of M. Clark’s deposition transcript to construct cross-examination                 BCN      2.4    $ 380.00   $    912.00
            questions and drafting of notes re: same for cross-examination at trial
4/17/2023   Review Westlaw information re: prior convictions of William Griffin to address his felony                BCN      1.2    $ 380.00   $    456.00
            convictions, and more effort to search local news stories re: forgery conviction in 2002

4/17/2023   3 emails with client re: options to present supplemental testimony and relief to be requested at         BCN      0.2    $ 380.00   $     76.00
            conclusion of contempt hearing
4/17/2023   Email to T. Struttman re: request for demonstrative aid and request for appearance at third              BCN      0.3    $ 380.00   $    114.00
            contempt hearing
4/18/2023   Drafting of cross-examination questions of William Griffin to be asked at continued contempt             BCN      0.4    $ 380.00   $    152.00
            hearing
4/19/2023   3 emails with T. Struttman re: demonstrative aid at trial                                                BCN      0.2    $ 380.00   $     76.00
4/19/2023   Review of Motion in Limine re: prior convictions and admissibility of same against William               BCN      0.6    $ 380.00   $    228.00
            Griffin
4/19/2023   Initial Preparation for cross-examination re: William Griffin including drafting outline of proof to     BCN      1.3    $ 380.00   $    494.00
            be presented
4/19/2023   Review first 50 pages of Mike Clark’s second deposition for purposes of cross-examination and            BCN      1.5    $ 380.00   $    570.00
            questions re: same at upcoming trial
4/20/2023   4 emails with T. Struttman re: scope of testimony to be provided at Supplemental Contempt                BCN      0.4    $ 380.00   $    152.00
            Hearing and information to be included in the Supplemental Report
4/20/2023   Email to Judge York’s chambers re: request to present additional testimony from T. Struttman at          BCN      0.2    $ 380.00   $     76.00
            Supplemental Contempt Hearing and information to be included in the Supplemental Report

4/20/2023   2 emails with opposing counsel sharing T. Struttman’s supplemental report and addressing his             BCN      0.2    $ 380.00   $     76.00
            objection to T. Struttman testifying at trial
4/20/2023   Preparation for the cross-examination of W. Griffin at supplemental contempt hearing, including          BCN      0.7    $ 380.00   $    266.00
            review of his known criminal history
4/20/2023   Final preparation for Cross-examination of Plaintiff, Michael Clark including, final drafting of         BCN      2.8    $ 380.00   $ 1,064.00
            questions, designation of all relevant supporting citations in both depositions of Plaintiff, as well
            as his affidavit, and comparison of signatures or different versions of assignment of claim

4/21/2023   Draft outline of continued arguments to make during cross-examination of William Griffin                 BCN      0.8    $ 380.00   $    304.00

4/21/2023   Review 80 page deposition transcript of William Griffin in different case                                BCN      0.7    $ 380.00   $    266.00
4/21/2023   Review 6th Circuit precedent supporting Court’s contempt finding against P&G Construction                BCN      1.0    $ 380.00   $    380.00
            Consultants
                                                              Ex. 4-Contempt hearing & prep.
 DATE                                                 NARRATIVE                                                   TIME-   HOURS    RATE          VALUE
                                                                                                                 KEEPER
4/23/2023   Draft memo in support of Motion to Permit Additional Expert Testimony from Trent Struttman             KAH     3.1    $ 275.00   $    852.50
            based on newly discovered evidence regarding the substance of the assignment of claim
            agreements produced by P&G's counsel.
4/23/2023   Begin drafting facts section of memo in support of Motion for Sanctions against P&G in light of       KAH      2.0    $ 275.00   $    550.00
            P&G's failure to provide requested documents in response to subpoena, despite multiple
            hearings and court order requiring it to do so.
4/23/2023   Draft analysis section of memo in support of Motion for Sanctions Against P&G re P&G should           KAH      1.0    $ 275.00   $    275.00
            be barred from substituting in as real party in interest due to bad faith conduct and expired
            deadline to do so as set forth in scheduling order.
4/23/2023   Draft analysis section of memo in support of Motion for Sanctions against P&G re that courts          KAH      2.3    $ 275.00   $    632.50
            consistently award sanctions up to and including dismissal for failure to provide discovery
            responses.
4/23/2023   Draft analysis section of memo in support of sanctions against P&G, including request that P&G        KAH      2.0    $ 275.00   $    550.00
            and William Griffin be prohibited from testifying as experts or providing estimates for repair due
            to their financial interest in outcome of litigation.
4/24/2023   Revisions to proposed Motion to Allow Mr. Struttman to present additional live expert witness         BCN      0.6    $ 380.00   $    228.00
            testimony
4/24/2023   Travel to Jackson, TN to attend second day of sanctions hearing against P&G Construction              BCN      2.5    $ 190.00   $    475.00
            Consultants (billed at half-rate)
4/24/2023   Return travel from Jackson, TN to attend second day of sanctions hearing against P&G                  BCN      2.5    $ 190.00   $    475.00
            Construction Consultants (billed at half-rate)
4/24/2023   Final drafting of cross-examination questions and designation of exhibits for use during              BCN      1.5    $ 380.00   $    570.00
            testimony of William Griffin
4/24/2023   Attendance at second day of sanctions hearing, including cross-examination of Plaintiff Michael       BCN      4.0    $ 380.00   $ 1,520.00
            Clark and William Griffin
4/24/2023   Telephone conference with T. Struttman re options to address the likely testimony of R.               BCN      0.4    $ 380.00   $    152.00
            Mehidian at contempt hearing
4/24/2023   Drive from Nashville to Jackson to attend second Contempt Hearing (billed at half rate)               KAH      2.0    $ 137.50   $   275.00
4/24/2023   Drive from Jackson to Nashville following second Contempt Hearing (billed at half rate)               KAH      2.0    $ 137.50   $   275.00
4/24/2023   Attend second day of contempt hearing. Second attorney presence approved by client                    KAH      4.0    $ 275.00   $ 1,100.00
4/24/2023   Revise Motion to Dismiss Michael Clark for lack of standing, including referencing relevant           KAH      2.5    $ 275.00   $   687.50
            portions of Clark's deposition testimony re declaring under oath that he signed an assignment
            of claim agreement with William Griffin and that he executed several agreements with William
            Griffin and including by clarifying the distinction between complete and partial assignment of
            claim agreements and the result on eliminating standing where complete assignment of claim
            occurs.
4/24/2023   Continue preparing for upcoming contempt hearing, including reviewing Motion in Limine filed          KAH      1.5    $ 275.00   $    412.50
            by Plaintiff's counsel and preparing objections to Plaintiff's counsel's expert.
4/25/2023   Lengthy email to client re: results of second contempt hearing re: P&G’s failure to produce           BCN      0.9    $ 380.00   $    342.00
            documents
4/25/2023   2 emails with opposing counsel re: decision whether there will be a live witness presentation on      BCN      0.2    $ 380.00   $     76.00
            May 1 or via Zoom as offered by the Court
                                                              Ex. 4-Contempt hearing & prep.
 DATE                                                 NARRATIVE                                                  TIME-   HOURS    RATE          VALUE
                                                                                                                KEEPER
4/25/2023   Review W. Griffin testimony at hearing against prior transcripts in other cases re: same             BCN      0.4    $ 380.00   $    152.00
4/25/2023   Drafting of direct examination questions for T. Struttman                                            BCN      0.5    $ 380.00   $    190.00
4/26/2023   Telephone conference with T. Struttman re: upcoming hearing                                          BCN      1.6    $ 380.00   $    608.00
4/26/2023   Draft outline of direct questions for T. Struttman                                                   BCN      0.5    $ 380.00   $    190.00
4/27/2023   Telephone conference with client re: Mike Clark and relief to request against Plaintiff and P&G      BCN      0.4    $ 380.00   $    152.00
            Construction at conclusion of Contempt Hearing ordered by Judge York
4/27/2023   Draft outline of cross-examination questions for R. Mehidian at contempt hearing                     BCN      0.7    $ 380.00   $    266.00
4/27/2023   Draft outline of cross-examination questions for others who may have performed work on behalf        BCN      0.4    $ 380.00   $    152.00
            of Micro Computer Systems, in event R. Mehidian is only owner
4/27/2023   Final drafting of outline of direct questions for T. Struttman re: supplemental testimony,           BCN      1.1    $ 380.00   $    418.00
            including hash values, software used, and information re: digital signature
4/27/2023   Research re: federal law requiring expert who performed work/analysis to actually be presenter       BCN      0.5    $ 380.00   $    190.00
            of proof at hearing in preparation for R. Mehidian testimony
4/28/2023   Preparation for third day of hearing on Motion for Contempt, including drafting of closing           BCN      1.8    $ 380.00   $    684.00
            arguments
4/28/2023   Telephone conference with client re: final contempt hearing and sanctions to be sought               BCN      0.3    $ 380.00   $    114.00

5/1/2023    Travel to Jackson, TN to attend day 3 of contempt hearing (billed at half-rate)                      BCN      2.5    $ 190.00   $    475.00
5/1/2023    Return travel from Jackson, TN to attend day 3 of contempt hearing (billed at half-rate)             BCN      2.5    $ 190.00   $    475.00
5/1/2023    2 telephone conferences with client re: results of final contempt hearing                            BCN      0.2    $ 380.00   $     76.00
5/1/2023    Preparation for cross-examination of R. Mehidian and potential team members, including Bruce         BCN      0.9    $ 380.00   $    342.00
            Ector, re Rule 704's requirement & education
5/1/2023    Final preparation for closing argument at contempt trial, including revisions to proposed closing    BCN      1.4    $ 380.00   $    532.00
            arguments
5/1/2023    Appearance at contempt trial in Jackson, TN, with direct examination of T. Struttman, and cross-     BCN      3.2    $ 380.00   $ 1,216.00
            examination of R. Mehidian and B. Ector

                                                                                                       TOTAL             104.7              $ 33,530.00
